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10    Parkridge and Mabel Mak
11
12                             UNITED STATES DISTRICT COURT

13                          NORTHERN DISTRICT OF CALIFORNIA

14
     On Behalf of PARKRIDGE LIMITED, a Hong         Case No. 16-cv-07387-KAW
15 Kong corporation, by Mabel Mak, and MABEL
16 MAK, an individual,                                            NOTICE OF WITHDRAWAL
                          Plaintiffs,                                         OF MOTION
17
             v.
18
     INDYZEN, INC., a California corporation, and
19 PRAVEEN NARRA KUMAR, an individual,
20               Defendants.                        Hon. Judge Jeffrey S. White

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 1 TO THIS COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD, PLEASE TAKE
 2 NOTICE THAT: Plaintiff hereby withdraws its motion for Brian Noack to withdraw on the grounds
 3
     that no motion is needed to withdraw in light of the fact that Plaintiff continues to be represented by
 4
     other counsel. Therefore, the motion is hereby withdrawn pursuant to Civil L. R. 7.7(e) and Plaintiff
 5
 6 will file a notice of change in counsel pursuant to Civil L.R. 5-1(c)(2)(C).
 7           .

 8    Dated: July 20, 2018
 9
10    By: s/ David Alan Makman                       .
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          Case 4:16-cv-07387-JSW Document 69 Filed 07/20/18 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE
 2
 3           The undersigned certifies that, on July 20, 2018, he caused this document to be

 4 electronically filed with the Clerk of Court using the CM/ECF system, which will send notification
 5 of filing to counsel of record for each party.
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                                                      By:   /s/ David Alan Makman
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